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                            Case No. 23-5493

               UNITED STATES COURT OF APPEALS
                    FOR THE SIXTH CIRCUIT


                             Robert Holman,

                                 Plaintiff – Appellant,
                                    v.

                          Thomas Vilsack, et al.,

                               Defendants – Appellees.

              On Appeal from the United States District Court
  for the Western District of Tennessee, No. 1:21-cv-02085 (Anderson, S.)


               PETITION FOR REHEARING EN BANC



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               INTRODUCTION AND RULE 35(b) STATEMENT

        The panel majority denied an award of attorney fees because it determined

the federal government’s defense of a flagrantly discriminatory law was

“substantially justified.” That decision deserves further review because it is

(1) “flatly at odds with controlling case law,” SlipOp.14 (Larson, J., dissenting), and

(2) rewards the government for trying its hardest to use race to discriminate against

everyday Americans. Defendants’ hollow efforts to defend the law are borne out by

an unmitigated string of losses in numerous cases and courts. If the decision stands,

it will both conflict with this Circuit’s strict scrutiny analysis and undermine the

incentives for attorneys to challenge state-sanctioned discrimination.

       En banc review is necessary to protect uniformity across this Court’s decisions

and the Supreme Court. The majority’s decision that reasonable jurists might find

defendants’ evidence sufficient to justify race-based programs directly conflicts with

Vitolo v. Guzman, 999 F.3d 353 (6th Cir. 2021), where this Court ruled no reasonable

jurist could conclude more-detailed evidence in support of that similar program

satisfied strict scrutiny.

        Last, this case involves questions of exceptional importance. The Equal

Access to Justice Act (EAJA) encourages litigants to pursue cases in the public

interest. The government has increasingly used race-based preferences in numerous

programs, only to have courts repeatedly strike down the preferences. Yet litigants


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often find that program-funds are exhausted by the time a court issues an injunction,

leaving litigants, and their counsel, little incentive to pursue these meritorious cases.

                                  BACKGROUND

        In 2021, President Biden signed into law the American Rescue Plan Act of

2021. Pub.L.No.117-2, § 1005 (2021) (ARPA). Section 1005 of ARPA directed the

Secretary of Agriculture to “provide a payment in an amount up to 120 percent of

the outstanding indebtedness of each socially disadvantaged farmer” on any

qualifying     farm   loan.   § 1005(a)(2).       The   government     defined   “socially

disadvantaged” as: “American Indians or Alaskan Natives;” “Asians;” “Blacks or

African Americans;” “Native Hawaiians or other Pacific Islanders;” and “Hispanics

or Latinos,” irrespective of whether a farmer individually experienced any prejudice.

Notice of Funds Availability; American Rescue Plan Act of 2021 Section 1005 Loan

Payment (ARPA), 86 Fed.Reg. 28329, 28330 (May 26, 2021); see also 7 U.S.C.

§ 2279(a)(5)-(6).

        Robert Holman is a farmer with outstanding farm loans. SlipOp.2. He was

ineligible to have USDA pay off his loans because of his skin color. See id. He and

other farmers sued, challenging the program’s racial and ethnic preferences under

the Fifth Amendment’s guarantee of equal protection. Id. at 2–3; see, e.g., Holman

v. Vilsack, No.21-1085-STA-jay, 2021 U.S. Dist. LEXIS 127334 (W.D.Tenn. July 8,

2021); Miller v. Vilsack, No.21-CV-0595, 2021 U.S. Dist. LEXIS 264778 (N.D.Tex.


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Jul. 1, 2021); Wynn v. Vilsack, 545 F. Supp.3d 1271 (M.D.Fla. 2021); Faust v.

Vilsack, 519 F. Supp.3d 470 (E.D.Wis. 2021). Because the program imposed a race-

preference, strict scrutiny applied. SlipOp.2–3.

       Defendants argued § 1005 remedied “the lingering effects of the unfortunate

but well documented history of racial discrimination” in government lending

programs. (OrderPrelim.Inj. R.41, PageID#858.) Notably, though, the historic

victims of this discrimination had already received over $2.4 billion in government

settlements. (Id. at PageID#859–60.) Defendants also contended § 1005 remedied

previous pandemic relief that disproportionately went to white farmers. (Id. at

PageID#862.)

       The district court heard Holman’s request for a preliminary injunction on

June 29, 2021. (OrderPrelim.Inj., R.41, PageID#877–79.) By then, two other district

courts prevented defendants from implementing § 1005. Wynn, 545 F. Supp.3d 1271;

Faust, 519 F. Supp.3d at 478. These losses did not dissuade defendants from

opposing Holman’s motion. Nor did this Court’s precedential ruling in Vitolo that

the Small Business Administration’s (SBA) use of race- and sex-based preferences

when distributing COVID-19 relief funds violated equal protection.

      Nine days later, the district court enjoined the loan forgiveness program

nationwide. (OrderPrelim.Inj., R.41, PageID#877–79.) In that interim period,

another district court enjoined defendants. Miller, 2021 U.S. Dist. LEXIS 264778,


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at *35. Thus, defendants went 0-for-4 in defending the race-based classifications in

§ 1005, and the government went 0-for-1 in the Sixth Circuit defending nearly-

identical preferences in the COVID-19 relief program.

        Congress repealed § 1005, mooting the merits portion of Holman’s litigation.

SlipOp.4. Holman moved for attorney’s fees, contending he was the prevailing party

because the merits-based preliminary injunction wasn’t dissolved until Congress

repealed § 1005. SlipOp.4. The district court denied the motion, concluding only that

Mr. Holman was not a “prevailing party.” Id. He appealed.

        In a two-to-one published decision, the panel affirmed the denial of fees on

an alternative ground. Id. at 2. The majority concluded defendants were

“substantially justified” in their defense of § 1005, thereby sidestepping the “thorny”

prevailing party issue. 1 Id. at 6–14. The majority relied upon governmental reports

that documented allegations of discrimination by some, but not all, of the groups that

received preferential treatment under § 1005. Id. at 9–10.

      Judge Larson dissented. Id. at 16–17. The dissent reasoned that “[a]bsent at

least some specific evidence of intentional discrimination against each racial group,

the government cannot show a compelling remedial interest in benefitting that



1
  The issue of whether a litigant who obtains a preliminary injunction before the
merits of the litigation are mooted by government action is a “prevailing party” is
before the Supreme Court in Lackey v. Stinnie, No.23-621. The en banc court may
allow the Supreme Court to address the prevailing party issue in the first instance.
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group.” Id. at 17. Because defendants only presented evidence as to discrimination

against black and African-American farmers, and not the other preferred races, the

dissent concluded a reasonable jurist could not find defendants’ litigation position

substantially justified. Id. at 16–17.




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                                    ARGUMENT

I.    Standard for recovering fees under EAJA

      Departing from the American Rule, EAJA permits a prevailing party to

recover its attorney’s fees. 28 U.S.C. § 2412(d)(1). The government, as the losing

litigant, can defeat an award of fees “by showing that its litigation position ‘was

substantially justified.’” Scarborough v. Principi, 541 U.S. 401, 405 (2004) (quoting

28 U.S.C. § 2412(d)(1)(A)). A litigation position is substantially justified “if there is

a genuine dispute or if reasonable people could differ as to the appropriateness of

the contested action.” Pierce v. Underwood, 487 U.S. 552, 565 (1988) (internal

quotation marks omitted). To avoid fees, the government’s position must be “more

than merely undeserving of sanctions for frivolousness.” Id. at 566.

II.   The majority opinion conflicts with Vitolo’s strict scrutiny requirements

      Race preferences are subject to strict scrutiny. Under strict scrutiny, the

government “must demonstrate that the . . . use of race in its current . . . program

employs ‘narrowly tailored measures that further compelling governmental

interests.’” Gratz v. Bollinger, 539 U.S. 244, 270 (2003) (quoting Adarand

Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995)). Meeting the compelling

interest and narrow tailoring requirements “is a very demanding standard, which few

programs will survive.” Vitolo, 999 F.3d at 360. Thus, the government rarely, if ever,

can plausibly say it was substantially justified to defend a race preference. And to


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avoid EAJA fees, defendants needed to show their position was “substantially

justified” under both prongs of strict scrutiny.

      Before the government defended § 1005 in district court, Vitolo held a nearly-

identical program failed both elements of strict scrutiny. 999 F.3d at 356, 360. In

doing so, this Court drew from numerous Supreme Court decisions. The majority

did not faithfully apply Vitolo and the Supreme Court cases upon which it rests when

concluding defendants’ litigation position was substantially justified.

      A.      The majority failed to faithfully examine defendants’ evidence
              against the compelling state interest requirements from Vitolo

      This Court recognized in Vitolo, that race preferences “are presumptively

invalid.” Id. at 360. “To overcome that presumption, the government must show that

favoring one race over another is necessary to achieve a compelling state interest.”

Id. (citing Adarand Constructors, Inc., 515 U.S. at 235). While remedying past

discrimination can be a compelling state interest, the government must make three

showings.

      First, the program “must target a specific episode of past discrimination. It

cannot rest on a ‘generalized assertion that there has been past discrimination in an

entire industry.’” Id. at 361 (quoting Richmond v. J.A. Croson Co., 488 U.S. 469,

498 (1989)). Moreover, the evidence must be of “prior unremedied or current

discrimination.’” See Assoc. Gen. Contractors. of Ohio, Inc. v. Drabik, 214 F.3d 730,

735 (6th Cir. 2000) (quoting Brunet v. City of Columbus, 1 F.3d 390, 409 (6th Cir.

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1993)); cf. Miller, 2021 U.S. Dist. LEXIS 264778, at *9 (concluding USDA “put[]

forward no evidence of intentional discrimination . . . in at least the past decade”

when defending loan forgiveness program). Evidence of decade-old discrimination

is insufficient. Assoc. Gen. Contractors, 214 F.3d at 734. Second, “there must be

evidence of intentional discrimination in the past. Statistical disparities don’t cut

it[.]” Vitolo, 999 F.3d at 361 (citing J.A. Croson Co., 488 U.S. at 503; Aiken v. City

of Memphis, 37 F.3d 1155, 1163 (6th Cir. 1994)). Third, “the government must have

had a hand in the past discrimination it now seeks to remedy.” Id.

      The evidence relied upon by the majority in concluding that defendants’

position was substantially justified can only be described as vague, generalized, and

dated. This contravenes Vitolo. The majority offered two types of evidence,

generalized reports and unsupported allegations by members of different racial

groups. See SlipOp.9. The reports suffered from two flaws. One, the only report

documenting actual instances of discrimination is from 1997. But “this [C]ourt has

ruled that seventeen-year-old evidence of discrimination is ‘too remote to support a

finding of compelling government interest to justify the affirmative action plan,’”

because “outdated evidence does not reflect ‘prior unremedied or current

discrimination.’” Assoc. Gen. Contractors, 214 F.3d at 735 (quoting Brunet, 1 F.3d

at 409). Thus, twenty-four-year-old evidence is too stale.




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      Two, the report suffers from the same vagueness and generality issues as the

evidence of discrimination in Vitolo because, it merely asserted that “the USDA had

‘done more to hurt than to help small and minority farmers’ because many minority

farmers’ loan applications and discrimination complaints languished within the

Agency.” SlipOp9. But this is less specific than the statistical evidence rejected in

Vitolo. 2 See 999 F.3d at 361–62 (evidence of 19% greater business failure rate in

minority population insufficient). And the Vitolo court described this more powerful

statistical evidence as “not nearly enough.” Id. at 361. Accordingly, the generalized

and vague allegations from the reports could not meet the substantial justification

standard, for if the evidence in Vitolo was “not nearly enough,” defendants’ lesser

evidence in support of § 1005 could not cause a reasonable jurist to believe the

defendants had met their burden.




2
  The other two reports relied upon by the majority, while more recent, are even
vaguer and more generalized than the 1997 report. The majority cites a 2011 Civil
Rights Assessment for “continued ‘claims of denial of equal program access’ by
minority applicants” and “‘continuing institutional discrimination’ by the [USDA].”
SlipOp.9. Meanwhile, the 2019 report cited by the majority stated that “allegations
of unlawful discrimination against [socially disadvantaged farmers and ranchers] in
the management of USDA are long-standing and well-documented.” Id. Aside from
being generalized, allegations of discrimination are not synonymous with evidence
of discrimination. But even if allegations qualified as evidence, without more detail
they are evidence of only generalized discrimination. It lacks the level of specificity
needed to support a race-based program. Indeed, a composite of allegations of
discrimination is akin to a “vague reference to a ‘theme’ of governmental
discrimination” found to be “not enough” by this Court in Vitolo. 999 F.3d at 362.
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      The second form of evidence went to the specific five groups receiving

preferences under § 1005. See 86 Fed. Reg. at 28330 (listing preferred races).

Defendants, by defending all aspects of § 1005, needed to produce evidence of a

compelling interest for each category. They did not. All agree defendants offered no

evidence of discrimination against Native Hawaiians/Pacific Islanders. See

SlipOp.9–10 (discussing evidence offered as to each group but making no mention

of Native Hawaiians/Pacific Islanders), 11 (conceding that defendants did not offer

evidence as to every category). Thus, their defense of § 1005 as to Native

Hawaiians/Pacific Islanders was per se unreasonable.

      While defendants attempted to provide some group-specific information on

Asian and Hispanic farmers, their evidence, even in the words of the majority,

amounted to generalized allegations. For instance, the majority cited evidence that

Asians “were among those who alleged in the late 1990s that the USDA had hurt

rather than helped minority farmers, and some reported in 2011 ‘a general consensus

. . . that they are not always treated fairly by the USDA.’” Id. at 10–11. As to

Hispanics, the majority cited evidence that this group had “stated that they had been

‘stereotyped as being farm workers, rather than owners,’ and received ‘inconsistent

or incomplete’ information from the USDA; one farmer said Hispanic growers had

been ‘systemically excluded’ from USDA programs.” Id. at 9.




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      This evidence isn’t nearly good enough. First, like with the reports, the

evidence identifies a “generalized assertion” of discrimination, see Vitolo, 999 F.3d

at 361, rather than any specific occurrence of discrimination. Second, the feelings of

a group, without additional evidence, cannot demonstrate that any discrimination

was “intentional.” Evidence of this nature is no stronger than the statistical disparity

incapable of satisfying the second Vitolo requirement. See id. Third, the allegations

by Asians are from the late 1990s, a quarter-century old and too old to support a

compelling interest. See Assoc. Gen. Contractors, 214 F.3d at 735; cf. Miller, 2021

U.S. Dist. LEXIS 264778, at *9. No reasonable jurist could conclude that defendants

offered sufficient evidence as to Asians and Hispanics. This means defendants

lacked a substantial justification for the racial categories they chose to employ in

§ 1005.

       Defendants also failed to show a compelling interest for Native Americans,

as the evidence was nothing more than generalized allegations. See SlipOp.10

(majority describing evidence as “in 2019, Native American farmers reported that

‘discrimination has contributed to the lack of commercial lending on tribal lands’;

similar allegations resulted in a large settlement between the USDA and Native

farmers and ranchers.” (brackets omitted). Furthermore, whatever instances of

discrimination may have occurred, the majority failed to consider that a settlement

remedied the discrimination. See supra, p. 3.


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      In sum, for 80% of these categories, defendants didn’t even muster a colorable

showing. 3 En banc review is needed as the majority failed to faithfully review the

evidence against the Vitolo requirements, creating an intra-circuit conflict.

      The majority opinion conflicts with Vitolo even though Vitolo did not include

an EAJA substantial justification analysis. This is because Vitolo reviewed a district

court’s denial of a preliminary injunction, which was governed by an abuse of

discretion standard. D.T. v. Sumner Cty. Sch., 942 F.3d 324, 327 (6th Cir. 2019). An

abuse of discretion, however, only exists if reasonable jurists could not reach

different outcomes regarding the sufficiency of evidence. See Barlow v. M.J.

Waterman & Assocs., 227 F.3d 604, 608 (6th Cir. 2000) (“[I]f reasonable persons

could differ as to the issue, then there is no abuse of discretion.”). Thus, for Vitolo to

have reversed the district court, the evidence in Vitolo must not have permitted a

reasonable jurist to conclude the race-based program furthered a compelling state

interest, a ruling that conflicts with the majority. And where the evidence in Vitolo

was stronger than the evidence as to at least four of five categories here, the

majority’s substantial justification analysis fundamentally reworks and undermines

the strict scrutiny requirements from Vitolo.



3
 Although defendants presented some evidence of discrimination against
blacks/African-Americans, their evidence was dated, didn’t account for the
significant efforts of remediating past wrongs, and lacked the specificity required by
Vitolo.
                                           12
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      B.     The majority failed to employ the Vitolo standard for narrow
             tailoring

      Defendants also failed to demonstrate that § 1005’s race preferences were

narrowly tailored. See Vitolo, 999 F.3d at 360. To meet the narrow tailoring

requirement, the government must prove that “‘no workable race-neutral alternative’

would achieve the compelling interest.” Id. at 362 (quoting Fisher v. Univ. of Tex.,

570 U.S. 297, 312 (2013)). A program “is not narrowly tailored if it is either

overbroad or underinclusive in its use of racial classifications.” Id. A “scattershot

approach [to selecting groups for preference] does not conform to the narrow

tailoring strict scrutiny require[ment].” Id. at 364.

      The majority accepted legally insufficient evidence for narrow tailoring that

conflicts with this Court’s carefully circumscribed approach in Vitolo. “[T]the

Government pointed to ‘the inefficacy of the race-neutral alternatives that Congress

tried for years before enacting § 1005,’ the time-limited nature of the Section 1005’s

relief, and the administrative difficulty of quickly administering relief to minority

farmers disproportionately harmed by the pandemic.” 4 SlipOp.10 This does not

resemble the scalpel approach required under Vitolo. However administratively

convenient a blunt race preference may be, it is not even a remotely tailored



4
  Notably, pandemic relief as a justification directly contradicts Vitolo since the
pandemic’s disproportionate impact on minority groups had nothing to do with the
government. See Vitolo, 999 F.3d at 361.
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approach. “A narrowly-tailored set-aside program must be ‘linked to identified

discrimination.’ Its criteria and measures of success must be particularized, not

reduced to rigid quotas driven by ‘simply administrative convenience.’” Assoc. Gen.

Constrs., 214 F.3d at 730 (emphasis added) (quoting J.A. Croson Co., 488 U.S. at

507–08). The majority did not just undo the Vitolo standard for narrow tailoring; by

allowing for administrative convenience to justify a race preference, it appeared to

abandon narrow tailoring altogether.

      More problematic, the preferred races were not tailored with a scalpel. It was

made crystal clear to them in Vitolo, 999 F.3d at 364 (nearly these exact categories

“do[] not conform to the narrow tailoring strict scrutiny requires”). Yet, defendants

refused to concede that Holman was likely to prevail on the merits as to these groups,

presumably because they knew it would be fatal. Students for Fair Admissions, Inc.

v. President & Fellows of Harv. Coll. (SFFA), 600 U.S. 181, 291 (2023) (Gorsuch,

J., concurring) (“Where do these [groups] come from? Bureaucrats.”). That means

they could not possibly have had a substantial justification unless well-settled

caselaw is erroneous.

      Moreover, defendants knew their approach was at once “overbroad and

underinclusive” under Vitolo. 999 F.3d at 363. For if these groups, why not Jews,

Middle Easterners, Indian-Americans, and Arabs who have experienced generalized

discrimination? See id. at 364 (questioning why some groups are included and others


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excluded as “racial gerrymandering”). By finding that the government had a

substantial justification for these exact same categories based on the evidence it

presented, the majority has functionally created a clear split in how narrow tailoring

works.

       En banc review is needed to bring the panel decision in line with the teachings

of Vitolo and Supreme Court decisions regarding narrow tailoring.

III.   The majority undervalued the string-of-losses defendants suffered by the
       time they defended in Holman

       By the time the government sought in vain to defend § 1005, it had already

suffered a string of losses on this very program, to say nothing of Vitolo. By

discounting that record, the majority conflicts with Sixth Circuit law.

       “[O]bjective indicia” of the lack of substantial reasonableness in the

government’s position include, “the views of other courts” and “‘a string of losses.’”

Griffith, 987 F.3d at 563 (quoting U.S. ex rel. Wall v. Circle C Constr., LLC, 868 F.3d

466, 471 (6th Cir. 2017)). “Courts often will refuse to label a governmental position

reasonable if other justices voted against that very position.” Alice Miller, Comment:

Calling Sierra Club for Help?: Attorney Fees Under the Equal Access to Justice Act

and its Effects on Litigation Involving Large Environmental Groups, 9 Dick. J. Env.

L. Pol. 553, 565 (2001).

       Defendants’ litigation position must be viewed in light of the government

having lost its efforts to defend a similar race-based program in Vitolo and

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defendants having lost multiple attempts to defend § 1005 at the preliminary

injunction/temporary restraining order stage. See Miller, 2021 U.S. Dist. LEXIS

264778; Wynn, 545 F. Supp. 3d 1271; Faust, 519 F. Supp. 3d 470. After it suffered

these losses, it still relied on the same evidence in Holman rather than hit pause.

IV.   The majority undermines the incentives for Americans to challenge state-
      sanctioned discrimination, an important and recurring issue

      This case meets Federal Rule of Appellate Procedure 35(b)(1)(B)’s

exceptional importance threshold for en banc review because it presents a recurring

issue facing litigants challenging race-based programs. EAJA “ensure[s] that

[litigants] will not be deterred from seeking review of, or defending against,

unjustified governmental action because of the expense involved.” Scarborough,

541 U.S. at 407 (quoting H.R.Rep.No.99-120 at 4).

      Race-based preferences in government programs have lately become

reflexively adopted by the federal government. ARPA, which yielded both § 1005

and the provision challenged in Vitolo, is but one of many iterations. More recently,

a court in this circuit enjoined the Department of Transportation from implementing

a program that provided race- and sex-based preferences in government contracting.

See Mid-Am. Milling Co., LLC v. U.S. DOT, No.3:23-cv-00072-GFVT, 2024 U.S.

Dist. LEXIS 171113 (E.D. Ky. Sept. 23, 2024). A similar program in USDA and SBA

contracting was also enjoined. Ultima Servs. v. USDA, No.2:20-cv-00041, 2023 U.S.

Dist. LEXIS 124268, at *60 (E.D.Tenn. July 19, 2023). And an entire federal agency

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has existed to provide preferential treatment to minority business owners. See

Nuziard v. Minority Bus. Dev. Agency, No. 4:23-cv-00278-P, 2024 U.S. Dist. LEXIS

38050 (N.D. Tex. Mar. 5, 2024). USDA is even using race- and sex-preferences to

compensate farmers in its disaster relief programs and its milk loss program. See

Strickland v. USDA, No.2:24-cv-60-Z, 2024 U.S. Dist. LEXIS 101547, at *2

(N.D.Tex. June 7, 2024); see also 7 C.F.R. § 760.1702. Instead of winding down,

they are ramping up.

      If “[e]liminating racial discrimination means eliminating all of it,” SFFA, 143

S. Ct. at 2161, then attorneys must be incentivized to move swiftly when the

discrimination at hand involves a rapidly expiring pot of funds. An injunction must

occur before the money runs out. Otherwise, a particularly noxious form of race

discrimination would manage to evade judicial review by simply working as it

intended: to deliver finite benefits in a discriminatory manner. See Strickland, 2024

U.S. Dist. LEXIS 101547, at *30 (enjoining only one of eight programs that likely

violated equal protection because it was “[t]he only active” program with money

remaining). Congressional purposes in designing fee-shifting provisions would be

undermined in the very cases where incentives matter most. See Comm’r, INS v.

Jean, 496 U.S. 154, 163, n.11 (1990) (EAJA’s purpose was to “eliminate” deterrent

effect individuals face when challenging unreasonable governmental action);

Riverside v. Rivera, 477 U.S. 561, 577 (1986) (fee-shifting under § 1988 “is


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particularly important and necessary if Federal civil and constitutional rights are to

be adequately protected.” (quotation omitted)); Hall v. Cole, 412 U.S. 1, 13 (1973)

(lack of fees under § 29 U.S.C. 412 “frustrat[es] its basic purpose,” rendering “grant

of federal jurisdiction … but a gesture”).

                                  CONCLUSION

  The majority’s decision conflicts with Circuit and Supreme Court precedent by

concluding defendants’ evidence, although legally incapable of supporting strict

scrutiny, was substantially justified. Accordingly, en banc review is needed.




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      This brief complies with Fed. R. App. P. 35(b)(2)(A) because it contains 3,865

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November 7, 2024.                            /s/ Braden H. Boucek
                                             BRADEN H. BOUCEK




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